          Case 6:21-cv-06327-JLS Document 28 Filed 07/28/22 Page 1 of 1




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                                              July 27, 2022


Via CM/ECF
Hon. John L. Sinatra, Jr.
United States District Judge
United States Courthouse
2 Niagara Square
Buffalo, NY 14202

       Re:     Constantino-Gleason v. NYSOCA et al.,
               WDNY C.A. No. 6:21-cv-06327-JLS

Dear Judge Sinatra:

        As a jointly filed status report in the above-referenced case, please be advised that counsel
for all parties have conferred and are agreeable to continuation of the ongoing mediation in this
case, but scheduling during the summer months has proven more difficult than anticipated.

       Counsel for the parties respectfully request until August 31, 2022 in which to continue
mediation, with the parties filing a mediation status report as soon as possible and by no later than
September 1, 2022. The mediator has proposed dates in August 2022, and the parties are in the
process of confirming dates.

       The Court’s consideration of this request is appreciated.

                                              Respectfully submitted,
                                              Joseph A. DeTraglia
                                              Joseph A. DeTraglia


cc: David J. Sleight, Esq.
